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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE WESTERN DISTRICT OF TEXAS
                                            AUSTIN DIVISION
       IN RE:                                               §                  Chapter 7
                                                            §
       ARTIUSID, INC.,                                      §                  CASE NO. 23-11007-cgb
                                                            §
                            Alleged Debtor.                 §

                           DECLARATION OF MICHAEL FREDERICK MARCOTTE
                                 CERTIFYING MATRIX OF CREDITORS

                I, Michael Frederick Marcotte, declare under penalty of perjury pursuant to 28 U.S.C. §1746 that

       the following factual assertions are true and correct:

                1.     I am over eighteen (18) years of age, of sound mind, qualified and competent in all respects

       to make this Declaration, and do so of my own personal knowledge.

                2.     Since on or about March 1, 2023, I have been and remain Chairman of the Board, CEO,

       President and Secretary of artius.iD, Inc., formerly known as Q5id, Inc. (the “Company”). In these various

       capacities I have personal knowledge of the business operations, financial affairs and strategic plan of the

       Company. In preparing this Declaration I have relied on and confirmed information provided by other

       members of the Company’s senior management, all of whom report directly or indirectly to me.

                3.     I and others acting under my direction have reviewed the financial books and records of

       artius.iD dating back to November 30, 2023, the date on which the Involuntary Petition was filed in this

       case (the “Involuntary Petition Date”). On the basis of that review, I respectfully submit the attached

       matrix of all known creditors to whom debts were accrued and owing from the Involuntary Petition Date

       through the date of this Declaration, and accompanying list identifying which of those claims are disputed,

       contingent or unliquidated.

                4.     Except as otherwise indicated, all statements set forth in this Declaration are based upon:

       (a) my personal knowledge of the business and financial affairs of the Company; (b) information supplied
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       to me by other members of the Company’s senior management; (c) my review of relevant documents; and

       (d) my personal observations and opinions based upon all of the foregoing. If called upon to testify, I

       could and would testify to the facts set forth in this Declaration.

              Dated: 09 August 2024 | 15:06:08 BST                  E-signed by:


                                                                    ___________________________________
                                                                    Michael Frederick Marcotte
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  Adobe
  345 Park Ave
  San Jose, CA 95110

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  Amazon Web Services
  410 Terry Avenue North
  Seattle, WA 98109

  Atlassian/Jira
  350 Bush Street, Floor 13
  San Francisco, CA 94104

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  Portland, OR 97204

  Bill.com
  6220 America Center Drive
  Suite 100
  San Jose, CA 95002

  Carta
  333 Bush Street, Floor 23
  Suite 2300
  San Francisco, CA 94104

  Chubb
  15 Mountain View Road
  Warren, NJ 07061

  Collaborative Vision LLC
  P.O. Box 481
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  Cowen, Liebowitz
  & Latman, P.C.
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  New York, NY 10036

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  Suite 1550
  San Francisco, CA 94105

  Elswick Group LLC
  3902 S Elkhart St
  Aurora, CO 80014
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  Eric Liepins, P.C.
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  FDGWeb
  3325 Smokey Point Dr
  Arlington, WA 98223

  FedEx
  942 South Shady Grove Road
  Memphis, TN 38120

  Figma
  760 Market St Floor 10
  San Francisco, CA 94102

  First Insurance Funding
  450 Skokie Blvd Suite 1000
  Northbrook, IL 60062

  Fisher & Phillips LLP
  Depository Account
  111 SW 5th Ave #4040
  Portland, OR 97204

  GitLab
  268 Bush St #350
  San Francisco, CA 94104

  Google Domains
  1600 Amphitheatre Parkway
  Mountain View, CA 94043

  Google Play
  1600 Amphitheatre Parkway
  Mountain View, CA 94043

  GPC
  5285 Meadows Rd #420
  Lake Oswego, OR 97035

  Harvest Small Business Finance
  24422 Avenida de la Carlota
  Suite 400
  Laguna Hills, CA 92653

  IDScan. Net
  2045 Lakeshore Drive
  Suite 213
  New Orleans, LA 70122

  Intelligent Buildings
  2901 West Coast Highway
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  6th Floor
  Boston, MA 02111

  NPM
  1999 Harrison St #1150
  Oakland, CA 94612

  O'Hagen Meyer
  805 SW Broadway #2280
  Portland, OR 97205

  Postman
  201 Mission Street
  Suite 2375
  San Francisco, CA 94105

  QuickBooks
  2700 Coast Ave
  Mountain View, CA 94043

  Rawls Law office, P.C.
  249 NE Lincoln St
  Hillsboro, OR 97124

  Schwabe Williamson & Wyatt, P.C.
  1211 SW 5th Ave Ste 1900
  Portland, OR 97204

  Shopify
  151 O'Connor Street
  Ground Floor
  Ottawa, ON, K2P 2L8

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  5273 Ivy Creek Lane
  Lakeland, TN 38002

  Transmission Private
  4-5 Gough Sq Fl 3
  London
  Greater London, EC4A 3DE
  United Kingdom

  TriNet
  1 Park Pl, # 600
  Dublin, CA 94568
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  Wework Austin
  801 Barton Springs Road
  Austin, TX 78704

  Wework Bellevue
  800 Bellevue Way NE
  Bellevue, WA 98004

  Wood Capital Group
  15 Mahogany Court 4
  Christchurch, AG Barbados

  Woodruff Sawyer
  50 California Street
  Floor 12
  San Francisco, CA 94111

  Zoom
  55 N Almaden Blvd
  6th Floor
  San Jose, CA 95113
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                                        Creditor List
                          [addresses included on the attached matrix]
           Creditor Name                               Category
           Collaborative Vision LLC                   Disputed / Unliquidated
           Leyton USA, Inc.                           Contingent (on R&D Tax credit)
           Wood Capital Group                         Pending



                          Paid in Full and Current Creditors
           Creditor Name                               Category
           Adobe                                      Current
           Amato Mediation                            Paid in Full
           Amazon Web Services                        Current
           Atlassian/Jira                             Current
           Barber Ranen, LLP                          Paid in Full
           Bill.com                                   Current
           Carta                                      Current
           Chubb                                      Paid in Full
           Cowen, Liebowitz & Latman, P.C.            Current
           Docusign                                   Paid in Full
           Elswick Group LLC                          Paid in Full
           Eric Liepins, P.C.                         Paid in Full
           FDGWeb                                     Current
           FedEx                                      Current
           Figma                                      Current
           First Insurance Funding                    Current
           Fisher & Phillips LLP Depository Account   Paid in Full
           GitLab                                     Paid in Full
           Google Domains                             Current
           Google Play                                Current
           GPC                                        Current
           Harvest Small Business Finance             Current
           IDScan. Net                                Current
           Intelligent Buildings                      Current
           KBF CPA                                    Current
           NPM                                        Current
           O'Hagen Meyer                              Current
           Postman                                    Current
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           Transmission Private               Current
           TriNet                             Current
           Wework Austin                      Current
           Wework Bellevue                    Current
           Woodruff Sawyer                    Paid in Full
           Zoom                               Paid in Full
